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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION




Midas Green Technologies, LLC,          )
                                        )
                Plaintiff,              )   Case No. 6:22-cv-00050-ADA
                                        )
      - vs. -                           )
                                        )   Jury Trial Demanded
Rhodium Enterprises, Inc.;              )
Rhodium Technologies LLC;               )
Rhodium 10MW LLC;                       )
Rhodium 2.0 LLC;                        )
Rhodium 30MW LLC;                       )
Rhodium Encore LLC;                     )
Rhodium Renewables LLC;                 )
Rhodium Renewables Sub LLC; and         )
Rhodium Ready Ventures LLC;             )
                                        )
                Defendants.             )
                                        )


     THIRD AMENDED COMPLAINT FOR PATENT INFRINGEMENT




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        Midas Green Technologies, LLC ("Midas" or "Plaintiff') hereby brings this action for

patent infringement against the following: (1) Rhodium Enterprises, Inc., (2) Rhodium

Technologies LLC, (3) Rhodium 10MW LLC, (4) Rhodium 2.0 LLC, (5) Rhodium 30MW LLC,

(6) Rhodium Encore LLC, (7) Rhodium Renewables LLC, (8) Rhodium Renewables Sub LLC;

and (9) Rhodium Ready Ventures LLC. (collectively, "Rhodium" or “Defendants”).

        Midas alleges infringement of U.S. Patent No 10,405,457, entitled "Appliance Immersion

Cooling System" (the “'457 Patent”) and U.S. Patent No. 10,820,446, entitled "Appliance

Immersion Cooling System" (the “'446 Patent”), at least by reason of Defendants' continued

operation of their infringing bitcoin mining facilities in Rockdale, Texas, Temple, Texas and a

third location 1 in Texas.
        True and correct copies of the '457 and '446 Patents (collectively, the "Asserted

Patents") are attached as Exhibits A and B, respectively.

                                         I. PARTIES

        1.      Plaintiff Midas Green Technologies, LLC is a Texas limited liability company

with its principal place of business at 7801 N Capital of Texas Hwy # 230, Austin, TX 78731.

Midas designs and builds immersion cooling solutions for use in data centers including

cryptocurrency mining facilities. Midas has been an innovative pioneer in the application of

immersion cooling technology.

        2.      Defendant Rhodium Enterprises, Inc. is a Delaware corporation formed on April

22, 2021. Rhodium Enterprises, Inc. conducts business in Texas, including in this District, and

including in the Waco Division, including by way of its subsidiaries as described herein.

According to its most recent SEC filing, Rhodium Enterprises, Inc. is a holding company and

the sole managing member of Defendant Rhodium Technologies LLC. See SEC

Amendment No. 6 to Form S-1 at F-16, Rhodium Enterprises, Inc. (Jan. 18, 2022), see

1
 The third location is information learned from Defendants’ Further Supplemental Responses,
of which is Attached as Exhibit D, page 9. The full text of Defendants’ Further
Supplemental Responses is not included in the body of the Complaint as they are marked
Confidential-Outside Attorneys’ Eyes Only and therefore filed under seal.



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https://www.sec.gov/Archives/edgar/data/0001874985/000121390022002442/fs12022a6_rhodiu

m.htm.

         3.    Defendant Rhodium Technologies LLC is a Delaware limited liability

company formed on October 23, 2020. Rhodium Technologies LLC was formerly known as

Rhodium Enterprises LLC. Rhodium Technologies LLC is a subsidiary of Defendant

Rhodium Enterprises, Inc. Rhodium Technologies LLC conducts business in Texas,

including in this District, and including in the Waco Division, including by way of its

subsidiaries as described herein. According to the foregoing most-recent Amended SEC

Form S-1 filing, Defendant Rhodium Technologies LLC is a holding company. In the

foregoing most-recent Amended SEC Form S-1 filing, Defendant Rhodium Technologies

LLC is known as "Rhodium Holdings."
         4.    Defendant Rhodium 10MW LLC is a Delaware limited liability company

formed on March 12, 2021. Rhodium 10MW LLC is an operating company and a subsidiary of

Defendant Rhodium Technologies LLC. Rhodium 10MW LLC conducts business in Texas,

including in this District, and including in the Waco Division.

         5.    Defendant Rhodium 2.0 LLC is a Delaware limited liability company formed on

December 17, 2020. Rhodium 2.0 LLC is an operating company and a subsidiary of Defendant

Rhodium Technologies LLC. Rhodium 2.0 LLC conducts business in Texas, including in this

District, and including in the Waco Division.

         6.    Defendant Rhodium 30MW LLC is a Delaware limited liability company formed

on April 1, 2020. Rhodium 30MW LLC is an operating company and a subsidiary of Defendant

Rhodium Technologies LLC. Rhodium 30MW LLC conducts business in Texas, including in

this District, and including in the Waco Division.

         7.    Defendant Rhodium Encore LLC is a Delaware limited liability company formed

on January 1, 2021. Rhodium Encore LLC is an operating company and a subsidiary of

Defendant Rhodium Technologies LLC. Rhodium Encore LLC conducts business in Texas,

including in this District, and including in the Waco Division.



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       8.      Defendant Rhodium Renewables LLC is a Delaware limited liability company

formed on March 17, 2021. Rhodium Renewables LLC is an operating company and a subsidiary

of Defendant Rhodium Technologies LLC. Rhodium Renewables LLC conducts business in

Texas, including in this District, and including in the Waco Division.

       9.      Defendant Rhodium Renewables Sub LLC is a Delaware limited liability

company formed on April 25, 2022, with a principal office at 4146 W. US Highway 79,

Rockdale, Texas 76567-5278. Rhodium Renewables Sub LLC is an operating company and a

subsidiary of Defendant Rhodium Technologies LLC. Rhodium Renewables Sub LLC conducts

business in Texas, including in this District, and including in the Waco Division.
       10.     Defendant Rhodium Ready Ventures LLC is a Delaware limited liability company

formed on August 23, 2022, with a principal office at 4146 W. US Highway 79, Rockdale, Texas

76567-5278. Rhodium Ready Ventures LLC is an operating company and a subsidiary of

Defendant Rhodium Technologies LLC. Rhodium Ready Ventures LLC conducts business in

Texas, including in this District, and including in the Waco Division.

       11.     The foregoing SEC filing describes each of Defendants Rhodium 10MW LLC,

Rhodium 2.0 LLC, Rhodium 30MW LLC, Rhodium Encore LLC, Rhodium Industries LLC, and

Rhodium Renewables LLC, as operating subsidiaries of Rhodium Technologies LLC. This SEC

filing (dated January 18, 2022) also refers to i Ventures Enterprises LLC (then doing business as

Energy Tech LLC) as a related party. Accordingly, these defendants will be collectively be

referenced herein as "the Rhodium Operating Subsidiaries."

       12.     After Midas filed this case on January 13, 2022, and after the January 18, 2022

date of the aforementioned SEC filing, Jordan HPC Sub LLC, Rhodium Renewables Sub LLC,

and Rhodium Ready Ventures LLC were formed by certain of the other Defendants, ostensibly

to be governed by Rhodium Technologies LLC. After the filing of this case and of the

aforementioned SEC filing, Rhodium 10MW Sub LLC, Rhodium 30MW Sub LLC, Rhodium

Encore Sub LLC, and Rhodium 2.0 Sub LLC were formed by certain of the other Defendants,

ostensibly to be governed by Rhodium JV LLC. Accordingly, these companies, whether a



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defendant or not, will be collectively referenced herein as "the Rhodium Post-Filing Operating

Subsidiaries."

       13.       Chase Blackmon is a Texas resident, is a co-founder and the Chief Operating

Officer of both Rhodium Enterprises, Inc., and Rhodium Technologies LLC. Chase Blackmon

is a director nominee for the board of directors of Rhodium Enterprises. Chase Blackmon

also owns shares of both Rhodium Enterprises and Rhodium Technologies by way of an

entity called Imperium Investment Holdings LLC (“Imperium”). Imperium is the majority

and controlling owner of both Rhodium entities. According to the foregoing SEC filing,

Chase Blackmon controls 25% of the voting interests in Imperium. Chase Blackmon

personally directed, participated in, authorized, and/or ratified the infringing conduct of the

Defendants. For example, on information and belief, Chase Blackmon helped design

Defendants' infringing immersion cooling systems, and he directs, participates in, and makes

decisions regarding the making and use of the infringing immersion cooling systems.

       14.       Cameron Blackmon is a Texas resident, is a co-founder and the Chief

Technology Officer of both Rhodium Enterprises, Inc., and Rhodium Technologies LLC.

Cameron Blackmon is a director nominee for the board of directors of Rhodium Enterprises.

Cameron Blackmon also owns shares of both Rhodium Enterprises and Rhodium

Technologies through Imperium. According to the foregoing SEC filing, Cameron

Blackmon controls 25% of the voting interests in Imperium. On information and belief,

Cameron Blackmon personally directed, participated in, authorized, and/or ratified the

infringing conduct of the Defendants. For example, on information and belief, Cameron

Blackmon helped design and develop Defendants' infringing immersion cooling systems,

and he directs, participates in, and makes decisions regarding the making and use of the

infringing immersion cooling systems.

       15.       Nathan Nichols is a Texas resident, is a co-founder and the Chief Executive

Officer of both Rhodium Enterprises, Inc., and Rhodium Technologies LLC. Nathan

Nichols serves on the board of directors for Rhodium Enterprises. Nathan Nichols also owns



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shares of both Rhodium Enterprises and Rhodium Technologies through Imperium.

According to the foregoing SEC filing, Nathan Nichols controls 25% of the voting interests

in Imperium. On information and belief, Nathan Nichols personally directed, participated in,

authorized, and/or ratified the infringing conduct of the Defendants. For example, on

information and belief, Nathan Nichols helped design and develop Defendants' infringing

immersion cooling systems, and he directs, participates in, and makes decisions regarding

the making and use of the infringing immersion cooling systems.

       16.     Defendant Rhodium Enterprises, Inc., Defendant Rhodium Technologies

LLC, and the Defendant Rhodium Operating Subsidiaries have common stock ownership.

Each of Chase Blackmon, Cameron Blackmon, and Nathan Nichols (the “Individuals”)

owns shares of both Defendant Rhodium Enterprises, Inc., and Defendant Rhodium

Technologies LLC through Imperium. See SEC Amendment No. 6 to Form S-1 at 102.

Rhodium Technologies LLC in turn directly or indirectly owns all of the outstanding equity

interests in the Rhodium Operating Subsidiaries. Id. at 103-05. Rhodium Technologies LLC

also directly or indirectly owns all of the outstanding equity interests in the Rhodium Post-

Filing Operating Subsidiaries.

       17.     The Rhodium Operating Subsidiaries, and the Rhodium Post-Filing Operating

Subsidiaries, share common directors and officers with Defendant Rhodium Enterprises,

Inc., and Defendant Rhodium Technologies LLC.

       18.     Defendant Rhodium Enterprises, Inc., Defendant Rhodium Technologies

LLC, and the Rhodium Operating Subsidiaries file consolidated financial statements. Id. at

F-17 ("The condensed consolidated financial statements include the accounts of Rhodium

Enterprises Inc. and its respective subsidiaries.")

       19.     Defendant Rhodium Enterprises, Inc., Defendant Rhodium Technologies

LLC, the Rhodium Operating Subsidiaries, and the Rhodium Post-Filing Operating

Subsidiaries were incorporated by Cameron Blackmon, acting on behalf of Imperium, a

third party under the control of the Individuals.



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       20.    The Rhodium Operating Subsidiaries, as well as the Rhodium Post-Filing

Operating Subsidiaries, are presently undercapitalized and exist for the purposes of

illegitimately shielding Defendant Rhodium Enterprises, Inc., and Rhodium Technologies

LLC, and in turn the Individuals, from liability. On information and belief, the Rhodium

Operating Subsidiaries, as well as the Rhodium Post-Filing Operating Subsidiaries, would

be unable to satisfy any money judgement levied against them because of their

undercapitalization and because their revenues flow directly to Defendant Rhodium

Enterprises, Inc. and Defendant Rhodium Technologies LLC.

       21.    Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies

LLC finance the Rhodium Operating Subsidiaries, as well as the Rhodium Post-Filing

Operating Subsidiaries.

       22.    Rhodium Shared Services LLC directly pays the salaries of all Rhodium

officers and employees, with the exception that Rhodium Shared Services LLC indirectly

pays the salary of Rhodium Chief Financial Officer Nicholas Cerasuolo by way of its

subsidiary, Rhodium Shared Services PR Inc.

       23.    Defendant Rhodium Enterprises, Inc., Defendant Rhodium Technologies

LLC, the Defendant Rhodium Operating Subsidiaries, and the Rhodium Post-Filing

Operating Subsidiaries, use each other's properties as their own. For example, on

information and belief, some or all of them operate out of the same Rockdale, Texas bitcoin

mining facility, among other facilities.

       24.    The daily operations of Defendant Rhodium Enterprises, Inc., Defendant

Rhodium Technologies LLC, the Defendant Rhodium Operating Subsidiaries, and the

Rhodium Post-Filing Operating Subsidiaries are not kept separate. For example, they

collectively operate the same bitcoin mining operation. Id. At F-16 ("The Company,

together with its subsidiaries, operates a digital mining operation"). As discussed above, on

information and belief, some or all of them operate out of the same Rockdale, Texas bitcoin

mining facility, among other facilities. On information and belief, they also have common



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business departments.

       25.    The Rhodium Operating Subsidiaries, as well as the Rhodium Post-Filing

Operating Subsidiaries, receive no business except through that allocated and arranged by

Defendant Rhodium Enterprises, Inc. and/or Defendant Rhodium Technologies LLC. For

example, Defendant Rhodium Enterprises, Inc. and/or Defendant Rhodium Technologies

LLC negotiate contracts on behalf of the Defendant Rhodium Operating Subsidiaries and

the Rhodium Post-Filing Operating Subsidiaries, or vice versa.

       26.    Defendant Rhodium Enterprises, Inc., Defendant Rhodium Technologies

LLC, and the Defendant Rhodium Operating Subsidiaries do not observe corporate

formalities, including keeping separate books. See Id. at F-17 ("The condensed financial

statements include the accounts of Rhodium Enterprises Inc. and its respective subsidiaries.

All inter-company accounts, balances, and transactions have been eliminated.") (emphasis

added). On information and belief, the same is true with respect to the Rhodium Post-Filing

Operating Subsidiaries.

       27.    Each Rhodium Operating Subsidiary and Rhodium Post-Filing Operating

Subsidiary is an agent of Defendants Rhodium Enterprises, Inc., and Defendant Rhodium

Technologies LLC (aka Rhodium Holdings) and their owners and operators, Chase

Blackmon, Cameron Blackmon, and Nathan Nichols. Defendant Rhodium Enterprises, Inc.

Defendant Rhodium Technologies LLC, the Defendant Rhodium Operating Subsidiaries,

and the Rhodium Post-Filing Operating Subsidiaries therefore act as a common enterprise,

their actions ultimately being directed by the Individuals. Specifically, the Individuals direct

and control the activities of Defendant Rhodium Enterprises, Inc. and Defendant Rhodium

Technologies LLC, and those Defendants in turn direct and control the activities of the

operating subsidiaries. The operating subsidiaries do not function as separate entities, but

rather as controlled agents of the parent entities and the operating subsidiaries act on behalf

of the parent entities. See, e.g., SEC Amendment No. 6 to Form S-1 at F-17 (referring to the

operating subsidiaries as "the subsidiaries through which the Company operates its assets").



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                                     II. JURISDICTION

       28.     This is a civil action for patent infringement arising under the patent laws of

the United States, 35 U.S.C. § 101 et seq. The Court therefore has subject matter jurisdiction

pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       29.     Defendants are subject to this Court's specific and general personal

jurisdiction, pursuant to constitutional due process and the Texas Long-Arm Statute, due at

least to their extensive business in this District, including by reason of their infringement

alleged herein. Specifically, and for example, Defendants own and operate an infringing

bitcoin mining facility in Rockdale, Texas. See SEC Amendment No. 6 to Form S-1 at l

(referring to Defendants' Rockdale location as the "initial Texas site"). Rockdale, Texas is

located in Milam County, which is within the Western District of Texas. In addition,

Defendants' second Texas site is in Temple, Texas. Temple, Texas is located in Bell County,

which is also within the Western District of Texas. Further, Defendants’ third Texas site 2 is
within the Northern District of Texas.

       30.     Jurisdiction is also found as Defendant Rhodium Enterprises, Inc., and Defendant

Rhodium Technologies LLC direct and control the infringing activities of the other

Defendants. Further, Rhodium Enterprises, Inc. and Rhodium Technologies LLC purchase

immersion cooling system tanks and other components, and then provide those infringing tanks

for other Defendants to use. See, for example, Exhibit C, which is a manufacturing and

purchase agreement whereby Rhodium Enterprises, Inc. purchases tanks and other immersion

cooling products that infringe the Midas Asserted Patents, which Rhodium Enterprises, Inc. then

provides either directly or indirectly to other Defendants. The entirety of the purchase agreement

is marked Confidential-Outside Attorneys’ Eyes Only and therefore filed under seal.

       31.     In further support of jurisdiction, each of the Defendant subsidiaries infringes

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 The third location is information learned from Defendants’ Further Supplemental Responses,
the relevant portion of which is Attached as Exhibit D, page 9. The full text of Defendants’
Further Supplemental Responses is not included in the body of the Complaint as they are
marked Confidential-Outside Attorneys’ Eyes Only and therefore are filed under seal.



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the Midas patented immersion cooling system as claimed in the Assert Patents. The use of

the tanks is admitted in Defendants’ Further Supplemental Responses of which is Attached

as Exhibit D. The entirety of the Defendants’ Further Supplemental Responses is not

included below as they are marked Confidential-Outside Attorneys’ Eyes Only. Instead,

citations are provided to where Rhodium admits use of the tanks.

                Defendant Rhodium Operating Subsidiaries

                       Rhodium 10MW LLC - - page 8, at paragraph labeled “2”

                       Rhodium 2.0 LLC - - page 8, at paragraph labeled “2”

                       Rhodium 30MW LLC - - page 7, at paragraph labeled “1”

                       Rhodium Encore LLC - - page 8, at paragraph labeled “2”

                       Rhodium Renewables LLC - - page 8, at paragraph labeled “2”
                Defendants also Identified as Rhodium Post-Filing Operating Subsidiaries

                       Rhodium Renewables Sub LLC - - page 9, first indented paragraph

                       Rhodium Ready Ventures LLC - - page 9, second indented paragraph

                                         III. VENUE

       32.      Venue is proper in this district under 28 U.S.C. §§ 139l(b) and 1400(b). All

Defendants have at least two places of business in this District and in the Waco Division,

i.e., in Rockdale, Texas and in Temple, Texas. Defendants have committed acts of

infringement, or a portion thereof, at these two locations within this District and within this

Division.

                             IV. THE ASSERTED PATENTS

                                        A. The’457 Patent

       33.      U.S. Patent No. 10,405,457, entitled "Appliance Immersion Cooling System,"

was duly and legally issued on September 3, 2019 by the U.S. Patent and Trademark Office.

The underlying application, U.S. Patent Application No. 14/355,533, was filed on April 30,

2014. A true and correct copy of the ‘457 Patent is attached as Exhibit A and incorporated

by reference.



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       34.    Midas is the assignee of all right, title, and interest in the’457 Patent,

including all rights to enforce and prosecute actions for infringement and to collect damages

for all relevant times against infringers of the’457 Patent. Accordingly, Midas possesses the

exclusive right and has standing to prosecute the present action for infringement of the ‘457

Patent by Defendants.

                                       B. The’446 Patent

       35.    U.S. Patent No. 10,820,446 entitled "Appliance Immersion Cooling System,"

was duly and legally issued on October 27, 2020 by the U.S. Patent and Trademark Office.

The underlying application, U.S. Patent Application No. 16/243,732, was filed on January 9,

2019, and is a continuation of the application which issued as the ‘457 Patent filed on April

30, 2014. A true and correct copy of the ‘446 Patent is attached as Exhibit B and
incorporated by reference.

       36.    Midas is the assignee of all right, title, and interest in the’446 Patent,

including all rights to enforce and prosecute actions for infringement and to collect damages

for all relevant times against infringers of the’446 Patent. Accordingly, Midas possesses the

exclusive right and has standing to prosecute the present action for infringement of the ‘446

Patent by Defendants.

                        V. RHODIUM AND ITS INFRINGEMENTS

       37.    Rhodium Defendants are part of "an industrial-scale digital asset technology

company" that "mine[s] bitcoin" with a "fully integrated" liquid cooling system. See SEC

Amendment No. 6 to Form S-1 at 1.

       38.    Rhodium's "founders spent the previous four years developing, testing, and

collecting field operational data to optimize the application of [their] liquid-cooling

technology to mining bitcoin." Id. Rhodium designs, builds, and operates data centers, also

called "mining farms" consisting of "bitcoin miners" (i.e. high-powered computers)

submerged in dielectric cooling fluid within specialized tank modules. Id. at 1, 22. The

miners mine bitcoin and thus generate revenue. The liquid cooling system permits Rhodium



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to "predictably and consistently mine more bitcoin with fewer miners" by "optimize[ing] the

hash rate, or processing power" of the miners. Id. at 1.

       39.     According to the foregoing SEC filing, Rhodium does not sell immersion

cooling products to third parties, but instead is a fully integrated bitcoin mining operation

that designs, builds, and then operates its own allegedly proprietary immersion cooling

systems to mine bitcoin and generate revenue. Id. at 1. Rhodium and its non-defendant

subsidiaries operate as a common enterprise controlled by Rhodium Enterprises and/or by

Rhodium Technologies, and/or by their officers and primary shareholders the Individuals

Chase Blackmon, Cameron Blackmon, and Nathan Nichols.

       40.     Rhodium Defendants own and operate a bitcoin mining facility in Rockdale,

Texas. Below are images from Rhodium's Rockdale facility showing the infringing liquid

immersion cooling systems and tank modules:




       See, e.g., "Investor Presentation 17.02.2020. In connection with proposed acquisition of

Distributed Ledger Technologies Ireland, Ltd, Element ASA" (February 17, 2020), downloaded from

       https://dltx.com/uploads/images/Reports-and-Documents/Presentations-and-

       Docs/Exemption-Doc/Element_Investor_Presentation_210217.pdf.

       41.     Accordingly, Defendants have directly infringed at least claims 1, 2, 5-7, 10,




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11, 14 and 15 of the ‘457 Patent and at least claims 1, 2, 5-7 and 10 of the '446 Patent.

Attached as Exhibit E is the claim chart for independent claims 1 and 6 of the ‘457 Patent.

Attached as Exhibit F is the claim chart for independent claims 1 and 6 of the’446 Patent.

These claim charts are excerpts from Midas’ Final Infringement Contentions, which were

served on Defendants on November 21, 2022. Midas provided claim charts for all asserted

claims in its Final Infringement contentions. Exhibits E and F are designated Confidential-

Outside Attorneys’ Eyes Only and therefore filed under seal.

    VI. DEFENDANTS' KNOWLEDGE OF THE ASSERTED PATENTS, THEIR

       INFRINGEMENTS, AND THE PRIOR CLAIM CONSTRUCTION ORDER
       42.    As detailed below, all Defendants have had actual notice of the Asserted

Patents and their own infringements for some time. For example, the Individuals became

aware of the ‘457 Patent and their infringements thereof no later than February 2020, when

they received a notice letter from Midas addressed to another entity founded by the

Individuals, i.e., Immersion Systems LLC. Further, the Individuals became aware of the

‘457 Patent and their infringements thereof, no later than November 24, 2020, when Midas

amended its lawsuit against Immersion Systems to assert the '457 Patent.

       43.    Before founding any of their Rhodium entities, Individuals Chase Blackmon,

Cameron Blackmon, and Nathan Nichols began to commercialize certain liquid immersion

cooling systems intended to be used in bitcoin mining operations. To sell those liquid

immersion cooling systems to third parties, the Individuals formed an entity called

Immersion Systems LLC in 2018. Exemplary YouTube videos show Chase Blackmon and

Cameron Blackmon working on such immersion cooling systems. See AntMiner S9 -

Immersion CoolingTest, Feb. 17, 2018. https://www.youtube.com/watch?v=DRck1Iegf2A

(last accessed March 28, 2023); immersion Cooling- Beta Test 1, Feb. 17, 2018,

https://www.youtube.com/watch?v=SzUO-PMtda4 (last accessed March 28, 2023); see also

SEC Amendment No. 6 to F01m S-1 at 1 ("Our founders spent the previous four years

developing, testing, and collecting field operational data to optimize the application of our



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liquid-cooling technology to mining bitcoin.").


                    Cameron Blackmon                           Chase Blackmon




        44.    From Immersion Systems' YouTube channel and Twitter feed, numerous images

and videos are available of these liquid immersion cooling systems. For example, below is a

picture from a November 12, 2019 tweet, depicting a stack of immersion cooling tank modules,

from Immersion System's Twitter feed with the caption "Another shipment out! Here was have

[sic] 5 Bitmain S9 tanks, fitting 42 miners each." See

https://twitter.com/ImmersionSystem/status/1194318079758610438 (last accessed on March 28,

2023)




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       45.    In another example, below is a picture from an October 15, 2019 tweet, with

the caption "Another shipment ready to go at Immersion Systems! We deploy, at industrial

scale, liquid immersion crypto-mining solutions. We provide free fluid extraction and tech

replacement if you want to upgrade your miners on site. Contact us at

sales@immersionsystems.io for more info."




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       46.     In another example, below is a picture from a July 21, 2019 tweet, with the

caption "Preparing another order for shipping out this week! All of our systems are

thoroughly tested prior to shipping. @ourbcma @MiningDisrupt #immersioncooling

#mining #bitcoin."




       47.     In another example, Immersion System's YouTube channel 1oaded a five-

minute video entitled "Introduction" on December 10, 2018. See

https://www.youtube.com/watch?v=kQ6cycss5ds (last accessed March 28, 2023). That
video features Individual Chase Blackmon and contains detailed explanations and videos

clips of Immersion Systems' "flagship" immersion cooling system, designed by Individuals

Chase Blackmon, Cameron Blackmon, and Nathan Nichols.

       48.     The exemplar video shows the structure of the immersion cooling systems

designed by Individuals Chase Blackmon, Cameron Blackmon, and Nathan Nichols,

including its central area with appliance slots, holed weir design, winged fluid recovery

chambers on either side of the central area, the dielectric fluid flowing up through the central



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area and the appliance slots, and the pump system sending the heated dielectric fluid to a dry

cooler and then back. See id. at 0:44 ("In here, you can see this is BitCool that we use to pump

up through the miners and then it exits the sides in a fluid recovery chamber.").




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       49.    From approximately 2018 to 2020, Immersion Systems promoted infringing

immersion cooling systems with this design to third parties for use in bitcoin mining

operations.

       50.    On the basis of these videos and photos, Midas sent a detailed letter and claim

chart to Immersion Systems on February 7, 2020, explaining that Immersion Systems'

immersion cooling systems infringed the’457 Patent. On information and belief, each of the

Individuals received and actually read Midas' February 7, 2020 letter around the time that it

was sent. Immersion did not respond to that letter, or a second letter sent shortly thereafter.

       51.    After Immersion Systems did not respond to the second letter from Midas,

Midas filed suit against Immersion Systems on May 29, 2020 in the Northern District of

Texas, Midas Green Technologies, LLC v. Immersion Systems LLC, No. 4:20-cv-00555-O

(hereafter, "the Immersion Systems Litigation."). On November 24, 2020, Midas amended

its complaint to include detailed allegations of patent infringement for the’446 Patent.

       52.    The individuals decided to shut down Immersion Systems in 2020, shortly




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after receiving Midas' first letter on February 7, 2020. On information and belief, the

Individuals made this decision to cease conducting business under Immersion Systems

because they then knew that their particular immersion cooling systems infringed the’457

Patent.

          53.   Around this time, as detailed further below, the Individuals Chase Blackmon,

Cameron Blackmon, and Nathan Nichols formed their first Rhodium entity in April 2020, i.e.,

Defendant Rhodium 30MW LLC. The purpose of this entity (and of the other Defendant

Rhodium Operating Subsidiaries and Rhodium Post-Filing Operating Subsidiaries) was not to

sell immersion cooling systems to third parties, but rather to use immersion cooling systems to

mine bitcoin.
          54.   During the pendency of the Immersion Systems Litigation, the Individuals caused

Immersion Systems to take steps to conceal the existence of the Individuals’ new Rhodium

businesses.

          55.   Exemplary photos from Defendants' Rockdale, Texas facility (see above), and as

well as photos from Rhodium's website (rhdm.com, see below), appear to suggest that the

immersion cooling systems of Rhodium are materially identical to the immersion cooling

systems previously promoted by the Individuals by way of Immersion Systems.

          56.   Because the immersion cooling systems products previously promoted by

Immersion Systems and the immersion cooling systems used by Rhodium appear to be

materially identical, each of the Individuals had actual notice that the immersion cooling systems




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of Rhodium infringed the’457 Patent, as of February 2020. Despite this knowledge, on

information and belief, the Individuals acting through one or more of the Defendants, decided to

utilize the particular immersion cooling systems that they had previously promoted via

Immersion Systems, in the Defendants' new Rhodium-labelled bitcoin mining business ventures.




       57.     On information and belief, all of the Rhodium Defendants had actual and

constructive notice and knowledge of the ‘457 Patent as of their founding, at least by virtue of

the actual notice of the ‘457 Patent possessed by the Individuals.

       58.     On information and belief, all of the Rhodium Defendants had actual knowledge

that their immersion cooling systems would infringe the ‘457 Patent as of their founding, at least

by virtue of the knowledge of infringement possessed by the Individuals.

       59.     On information and belief, each of the Defendants gained actual notice of the ‘446

Patent in November of 2020, by virtue of the filing by Midas of its amended complaint in the

Immersion Systems Litigation. Each of the Defendants had actual notice that the immersion

cooling systems of Rhodium infringed the’446 Patent, by virtue of the filing by Midas of its

amended complaint.

       60.     During the course of the Immersion Systems Litigation, Midas and Immersion

Systems submitted a Joint Claim Construction Chart (Dkt. 82) in which the parties agreed to the


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proper construction of two claim terms, i.e., "weir" and "plenum," and in which the parties

further agreed that seventeen other claim terms should be afforded their plain and ordinary

meaning. A true and correct copy of that filing is attached as Exhibit G.

       61.     On November 22, 2021, the Court in the Immersion Systems Litigation issued its

claim construction order, rejecting arguments from Immersion System that the '457 and’446

Patents were invalid as indefinite, and adopting Midas' proposed constructions as plain and

ordinary meaning, with regard to two disputed claim terms. A true and correct copy of the

Court's claim construction order is attached as Exhibit H. In its claim construction order, the

Court also adopted the proposed constructions for nineteen agreed-upon terms and phrases as set

forth in the parties' Joint Claim Construction Chart (Dkt. 82).
       62.     As of their receipt of the foregoing claim construction ruling from the Immersion

Systems Litigation in late November 2021, the Defendants knew or should have known that the

Asserted Patents were valid and infringed by Defendants, to the extent they did not already

possess such knowledge.

       63.     The Amended SEC Form S-1 filed by Defendant Rhodium Enterprises, Inc. on

December 14, 2021 discloses the existence of the Immersion Systems Litigation, as well as

acknowledging the possibility that Midas might file a patent infringement lawsuit against

Rhodium. See SEC Amendment No. 4 to Form S-1 at 29, Rhodium Enterprises, Inc. (Dec. 14,

2021), available at https://sec.report/Document/0001213900-21-

065116/fs12021a4_rhodium.htm. Notably, the Form S-1 does not state that the Rhodium

systems or tanks are different in any material respect from the accused Immersion systems or

tanks, amounting to a tacit admission that they are the same or similar in all material respects. Id.

Even after Midas filed the Original Complaint in this action, Rhodium filed an amended Form S-

1 acknowledging the lawsuit but not containing any statements that the Rhodium systems or

tanks differ in any material respect from the infringing Immersion systems or tanks. SEC

Amendment No. 6 to Form S-1 at 4. Defendants' disclosure of the Immersion Systems Litigation,

and a corresponding litigation risk to the Rhodium entities, in its Form S-1 further demonstrates


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its knowledge of the Asserted Patents and of its infringement.

       64.     As of the filing of this suit on January 13, 2022, each of the Defendants is well

aware of the Asserted Patents, and each of the Defendants is well aware of their infringements

thereof.

                                 VII. CAUSES OF ACTION

                      Count 1: Infringement of U.S. Patent No. 10,405,457

       65.     Midas incorporates by reference the preceding paragraphs, as if set forth herein.

       66.     The ‘457 Patent was filed April 30, 2014, and legally issued by the United

States Patent and Trademark Office on September 3, 2019. The ‘457 Patent is valid and

enforceable and presumed as such pursuant to 35 U.S.C. § 282.
       67.     Without a license or permission from Midas, Defendants have directly

infringed and continue to directly infringe one or more claims of the ‘457 Patent by making,

having made, using, offering for sale, or selling products and devices that embody the patented

invention in violation of 35 U.S.C. § 271.

       68.     Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies LLC

directly infringe the ‘457 Patent under 35 USC §271(a) by (1) providing infringing immersion

cooling systems to other Defendants; (2) controlling and directing the direct infringement of one

or more of the other Defendants; and (3) benefitting and profiting from the infringement of one

or more of the other Defendants. The other Defendants directly infringe the ‘457 Patent under 35

USC §271(a) by their admitted use of infringing immersion cooling systems.

       69.     Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies LLC

further indirectly infringe the ‘457 Patent by (1) directing other third parties to design, build or

install infringing products and devices; and (2) controlling and directing the direct infringement

of one or more of the other Defendants.

       70.     Defendants' infringement has been, and continues to be, knowing, intentional,

and willful, at least beginning February 7, 2020, with the delivery of Midas' noticed letter to

Immersion Systems, of which the Individuals had contemporaneous notice.


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       71.     Defendants' acts of infringement of the ‘457 Patent have caused and will

continue to cause Midas damages for which Midas is entitled compensation pursuant to 35

U.S.C. § 284. Defendants' acts of infringement of the ‘457 Patent have caused and will

continue to cause Midas immediate and irreparable harm unless such infringing activities

are enjoined by this Court pursuant to 35 U.S.C. § 283. Midas has no adequate remedy at

law.

                               A.      Direct Infringement

       72.     Defendants have directly infringed one or more claims of the ‘457 Patent in

the Western District of Texas, the State of Texas, and elsewhere in the United States, by at

least making, having made, using, selling, and/or offering for sale appliance immersion

cooling systems that satisfy every limitation of at least claims 1 and 6 of the’457 Patent. If

any limitation of claim 1 or 6 is not practiced in a literal sense, then that limitation is present

under the doctrine of equivalents.
       73.     Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies

LLC have directly infringed one or more claims of the ‘457 Patent in the Western District of

Texas, the State of Texas, and elsewhere in the United States by way of: (1) directing and

controlling the activities of the Defendant Rhodium Operating Entities and the Defendants

identified as Rhodium Post-Filing Operating Subsidiaries; and (2) benefiting and profiting

from the other Defendants infringing actions. Defendant Rhodium Enterprises, Inc. and

Defendant Rhodium Technologies LLC also purchase infringing immersion cooling tanks

and provided those infringing tanks to one or more of the other Defendants.

       74.     See Exhibit E which is an exemplary claim chart detailing representative

infringement of claims 1 and 6 of the’457 Patent.

                              B.      Induced Infringement

       75.     Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies

LLC have been and are inducing infringement of the ‘457 Patent by actively and knowingly

inducing others, including other Defendants, to make, have made and/or use, the infringing


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immersion cooling systems and tank modules that embody the invention claimed in the ‘457

Patent in violation of 35 U.S.C. § 271(b). Defendant Rhodium Enterprises, Inc. and Defendant

Rhodium Technologies LLC have also induced infringement by willfully directing and

controlling the infringing activities of other third parties, such as manufacturers and

installers, to make, have made, or use the infringing immersion cooling systems and tank

modules.

       76.     Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies

LLC have possessed specific intent to induce infringement of the’457 Patent. Specifically,
Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies LLC have long

been aware of the ‘457 Patent and the specific manner in which their immersion cooling system

design infringes the’457 Patent, by virtue of detailed claim charts provided to the Individuals and

either shared with all other Defendants or that all other Defendants have knowledge of their

infringement through the knowledge of the Individuals, who are officers, directors, and owners

of the Rhodium Defendants. Despite this knowledge of the patent and the infringing design,

Defendants have induced third parties to take actions that they know will infringe, either directly

or contributorily, through the actions described in this section and throughout this complaint. For

example, Defendant Rhodium Enterprises, Inc. directed Ameritex Machine and Fabrication,

LLC (“Ameritex”) to make and sell its infringing immersion tanks. See Exhibit C.

       77.     Defendants have induced infringement by providing designs and instructions to

third party manufacturers, such as Ameritex and contractors to have made infringing immersion

cooling systems and tank modules. Id.

       78.     Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies

LLC have induced infringement by willfully providing infringing directions, instructions and

designs for immersion cooling systems and tank modules to other Defendants, third party

manufacturing companies, such as Ameritex and other contractors, for knowing use in infringing

activity to mine bitcoin and generate revenue. Id.




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                     Count 2: Infringement of U.S. Patent No. 10,820,446

          79.   Midas incorporates by reference the preceding paragraphs, as if set forth

herein.

          80.   The ‘446 Patent was filed January 9, 2019, and legally issued by the United

States Patent and Trademark Office on October 27, 2020. The ‘446 Patent is valid and

enforceable, and presumed as such pursuant to 35 U.S.C. § 282.

          81.   Without a license or permission from Midas, Defendants have directly

infringed and continue to directly infringe one or more claims of the’446 Patent, by

making, having made, using, offering for sale, or selling products and devices that embody

the patented invention in violation of 35 U.S.C. § 271.
          82.   Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies

LLC directly infringe the ‘446 Patent under 35 USC §271(a) by; (1) providing infringing

immersion cooling systems to other Defendants; (2) controlling and directing the direct

infringement of one or more of the other Defendants; and (3) benefitting and profiting from the

infringement of one or more of the other Defendants. The other Defendants directly infringe the

‘446 Patent under 35 USC §271(a) by their admitted use of infringing immersion cooling

systems.

          83.   Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies

LLC further indirectly infringe the ‘446 Patent by; (1) directing other third parties to design,

build or install infringing products and devices; and (2) controlling and directing the direct

infringement of one or more of the other Defendants. Defendants' infringement has been, and

continues to be, knowing, intentional, and willful, at least beginning November 24, 2020,

with the filing of Midas' amended complaint against Immersion Systems, of which the

Individuals had contemporaneous notice.

          84.   Defendants' acts of infringement of the ‘446 Patent have caused and will

continue to cause Midas damages for which Midas is entitled compensation pursuant to 35

U.S.C. § 284. Defendants' acts of infringement of the ‘446 Patent have caused and will


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continue to cause Midas immediate and irreparable harm unless such infringing activities

are enjoined by this Court pursuant to 35 U.S.C. § 283. Midas has no adequate remedy at

law.

                               C.      Direct infringement

       85.     Defendants have directly infringed one or more claims of the ‘446 Patent in

the Western District of Texas, the State of Texas, and elsewhere in the United States, by at

least making, having made, using, selling, and/or offering for sale appliance immersion

cooling systems that satisfy every limitation of at least claims 1 and 6 of the’446 Patent. If

any limitation of claims 1 or 6 is not practiced in a literal sense, then that limitation is

present under the doctrine of equivalents.

       86.     Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies

LLC have directly infringed one or more claims of the ‘446 Patent in the Western District of

Texas, the State of Texas, and elsewhere in the United States by way of (1) directing and

controlling the activities of the Defendant Rhodium Operating Entities and the Defendants

identified as Rhodium Post-Filing Operating Subsidiaries and (2) benefiting and profiting

from the other Defendants infringing actions. Defendant Rhodium Enterprises, Inc. and

Defendant Rhodium Technologies LLC also purchase infringing immersion cooling tanks

and provided those infringing tanks to one or more of the other Defendants.

       87.     See Exhibit F which is an exemplary claim chart detailing representative

infringement of claims 1 and 6 of the’446 Patent.

                              D.      Induced Infringement

       88.     Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies

LLC have been and are inducing infringement of the ‘446 Patent by actively and knowingly

inducing others, including other Defendants, to make, have made, and/or use, the infringing

immersion cooling systems and tank modules that embody the invention claimed in the ‘446

Patent in violation of 35 U.S.C. § 27l(b). Defendant Rhodium Enterprises, Inc. and

Defendant Rhodium Technologies LLC have also induced infringement by willfully


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directing and controlling the infringing activities of other third parties, such as

manufacturers and installers, to make, have made, or use the infringing immersion cooling

systems and tank modules.

          89.   Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies

LLC have possessed specific intent to induce infringement of the’446 Patent. Specifically,

Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies LLC have long

been aware of the ‘446 Patent and the specific manner in which their immersion cooling

system design infringes the’446 Patent, by virtue of detailed claim charts provided to the

Individuals and either shared with all other Defendants or that all other Defendants have

knowledge of their infringement through the knowledge of the Individuals, who are officers,

directors, and owners of the Rhodium Defendants.
          90.   Despite this knowledge of the patent and the infringing design, Defendants

have induced third parties to take actions that they know will infringe, either directly or

contributorily, through the actions described in this section and throughout this complaint.

For example, Defendant Rhodium Enterprises, Inc. directed Ameritex Machine and

Fabrication, LLC (“Ameritex”) to make and sell it infringing immersion tanks.

          91.   Defendants have induced infringement by providing designs and instructions

to third party manufacturers, such as Ameritex, and contractors to have made infringing

immersion cooling systems and tank modules.

          92.   Defendant Rhodium Enterprises, Inc. and Defendant Rhodium Technologies

LLC have induced infringement by willfully providing infringing directions, instructions

and designs for immersion cooling systems and tank modules to other Defendants, third party

manufacturing companies, such as Ameritex and other contractors, for knowing use in

infringing activity to mine bitcoin and generate revenue.

                            Count 3: Willfulness and Egregiousness

          93.   Midas incorporates by reference the preceding paragraphs, as if set forth

herein.


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         94.   Defendants have willfully and maliciously infringed the '457 and’446 Patents

at least since the date of their actual notice of the patents and their infringement.

Specifically, despite receiving detailed claim charts both in letters and having received such

information through the Immersion Systems litigation showing that their immersion cooling

systems designs infringes Midas' patents, Defendants have continued to operate their infringing

immersion cooling systems. Indeed, Defendants have aggressively sought to expand their

operations and add additional immersion cooling systems, knowing throughout their existence

that they infringe Midas' patents.
         95.   The Individuals (by way of Immersion Systems) actively sought to conceal the

existence of their Rhodium business and did not reveal its existence during the course of the

Immersion Systems litigation, despite clear discovery obligations to do so. The Individuals also

actively sought to conceal that Immersion Systems had ceased business operations, continuing in

the Northern District of Texas litigation for the true benefit of the Defendants.

         96.   At the same time, on information and belief, the Individuals, and/or Rhodium

directly or indirectly bankrolled the filing and prosecution, nominally in the name of Immersion

Systems, of an Inter parties review proceeding directed to attempt to invalidate the’457 Patent,

as well as a Post-Grant review proceeding directed to attempt to invalidate the’446 Patent.

         97.   Defendants' infringement has been egregious, wanton, malicious, and in bad

faith.

         98.   The Individuals, who are the officers, directors, and owners of the Defendants,

possessed full knowledge that their immersion cooling systems design infringed the '457 and’446

Patents, knew these patents were valid, did not attempt to procure a license to these valid patents,

and instead proceeded to start a new business using the same or substantially the same infringing

design. As Rhodium advertises, this immersion cooling system design is critical to their business

and a primary driver of their profitability, and yet Defendants have knowingly and maliciously

stolen Midas' patented and innovative technology for their own profit without compensating the

inventors of the technology.


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                     Additional Allegations Relating to the Asserted Patents

       99.     The ‘457 Patent is directed to an improved appliance immersion cooling system

and method of operation. Specifically, the ‘457 Patent seeks to solve at least two problems in the

prior art of appliance immersion cooling systems: (1) the difficulty of maintenance and

access to the electrical equipment in prior art vertical-stack-type systems, which necessitate

draining the cooling fluid to gain access to the equipment; and (2) non-uniform flow

patterns of the dielectric fluid within the tank and constricted dielectric fluid supply and

return ports, resulting in uneven cooling and unnecessarily high fluid flow velocities. The

invention of the ‘457 Patent is an improvement over the prior art and provides greater

efficiency and effectiveness through ease of access to the electrical appliances in an open

horizontal tank, substantially uniform fluid flow patterns through all appliance slots leading

to substantially uniform cooling, and lower fluid flow velocities. The ‘457 Patent

accomplishes these improvements through a unique, innovative design, as described below,

that achieves substantially uniform flow of dielectric fluid upwardly through the tank,

beginning from a plenum that substantially uniformly distributes the dielectric fluid across

the bottom of the tank and then a weir that is adapted to facilitate substantially uniform

recovery of the dielectric fluid that has cooled the appliances, where the fluid flows over the

weir into fluid recovery reservoirs, to then be cycled and re-cooled, for recirculation into the

tank. The ‘457 Patent therefore does not claim an abstract idea, law of nature, or natural

phenomenon, but instead to a tangible, patent-eligible invention.

       100.    The ‘457 Patent claims, among other things, an appliance immersion cooling

system that includes a tank adapted to immerse in a dielectric fluid a plurality of electrical

appliances, each in a respective appliance slot distributed vertically along, and extending

transverse to, a long wall of the tank. The tank includes a weir, integrated horizontally into

the long wall of the tank adjacent all appliance slots, having an overflow lip adapted to

facilitate substantially uniform recovery of the dielectric fluid flowing through each

appliance slot, and a dielectric fluid recovery reservoir positioned vertically beneath the


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overflow lip of the weir and adapted to receive the dielectric fluid as it flows over the weir.

The appliance immersion cooling system also includes a primary circulation facility adapted

to circulate the dielectric fluid through the tank. The primary circulation facility includes a

plenum, positioned adjacent the bottom of the tank, adapted to dispense the dielectric fluid

substantially uniformly upwardly through each appliance slot. The appliance immersion

cooling system also, in some embodiments, includes a secondary fluid circulation facility

adapted to extract heat from the dielectric fluid circulating in the primary circulation facility,

and to dissipate to the environment the heat so extracted. The appliance immersion cooling

system also includes a control facility adapted to coordinate the operation of the primary

and, if included, the secondary fluid circulation facilities as a function of the temperature of

the dielectric fluid in the tank.

       101.    The ‘457 Patent also claims, among other things, a tank module adapted for

use in an appliance immersion cooling system. The tank module includes a tank adapted to

immerse in a dielectric fluid a plurality of electrical appliances, each in a respective

appliance slot distributed vertically along, and extending transverse to, a long wall of the

tank. The tank includes a weir, integrated horizontally into the long wall of the tank adjacent

all appliance slots, having an overflow lip adapted to facilitate substantially uniform

recovery of the dielectric fluid flowing through each appliance slot, and a dielectric fluid

recovery reservoir positioned vertically beneath the overflow lip of the weir and adapted to

receive the dielectric fluid as it flows over the weir. The tank module also includes a

primary circulation facility adapted to circulate the dielectric fluid through the tank,

including a plenum, positioned adjacent the bottom of the tank, adapted to dispense the

dielectric fluid substantially uniformly upwardly through each appliance slot, and a control

facility adapted to control the operation of the primary fluid circulation facility as a function

of the temperature of the dielectric fluid in the tank.

       102.    The ‘446 Patent is directed to an improved appliance immersion cooling

system and method of operation. Specifically, the ‘446 Patent seeks to solve at least two


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problems in the prior art of appliance immersion cooling systems: (1) the difficulty of

maintenance and access to the electrical equipment in prior art vertical-stack-type systems,

which necessitate draining the cooling fluid to gain access to the equipment; and (2) non-

uniform flow patterns of the dielectric fluid within the tank and constricted dielectric fluid

supply and return ports, resulting in uneven cooling and unnecessarily high fluid flow

velocities. The invention of the ‘446 Patent is an improvement over the prior art and

provides greater efficiency and effectiveness through ease of access to the electrical

appliances in an open horizontal tank, substantially uniform fluid flow patterns through all

appliance slots leading to substantially uniform cooling, and lower fluid flow velocities. The

‘446 Patent accomplishes these improvements through a unique, innovative design, as

described below, that achieves substantially uniform flow of dielectric fluid upwardly through

the tank, beginning from a plenum that substantially uniformly distributes the dielectric fluid

across the bottom of the tank and then a weir that is adapted to facilitate substantially

uniform recovery of the dielectric fluid that has cooled the appliances, where the fluid flows

over the weir into fluid recovery reservoirs, to then be cycled and re-cooled, for recirculation

into the tank. The ‘446 Patent therefore does not claim an abstract idea, law of nature, or

natural phenomenon, but instead to a tangible, patent-eligible invention.
       103.    The ‘446 Patent claims, among other things, an appliance immersion cooling

system that includes a tank adapted to immerse in a dielectric fluid a plurality of electrical

appliances, each in a respective appliance slot distributed vertically along, and extending

transverse to, a long wall of the tank. The tank includes a weir, integrated horizontally into the

long wall of the tank adjacent all appliance slots, adapted to facilitate substantially uniform

recovery of the dielectric fluid flowing through each appliance slot. The appliance immersion

cooling system also includes a primary circulation facility adapted to circulate the dielectric fluid

through the tank. The primary circulation facility includes a plenum, positioned adjacent the

bottom of the tank, adapted to dispense the dielectric fluid substantially uniformly upwardly

through each appliance slot. The appliance immersion cooling system also includes, in at least


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one embodiment, a secondary fluid circulation facility adapted to extract heat from the dielectric

fluid circulation in the primary circulation facility, and to dissipate to the environment the heat

so extracted, and a control facility adapted to coordinate the operation of the primary and

secondary fluid circulation facilities as a function of the temperature of the dielectric fluid in the

tank.

        104.    The ‘446 Patent also claims, among other things, a tank module adapted for use

in an appliance immersion cooling system. The tank module includes a tank adapted to immerse

in a dielectric fluid a plurality of electrical appliances, each in a respective appliance slot

distributed vertically long, and extending transverse to, a long wall of the tank. The tank includes

a weir, integrated horizontally into the long wall of the tank adjacent all appliance slots, adapted

to facilitate substantially uniform recovery of the dielectric fluid flowing through each appliance

slot. The tank module also includes a primary circulation facility adapted to circulate the

dielectric fluid through the tank, including a plenum, positioned adjacent the bottom of the tank,

adapted to dispense the dielectric fluid substantially uniformly upwardly through each appliance

slot, and a control facility adapted to control the operation of the primary fluid circulation facility

as a function of the temperature of the dielectric fluid in the tank.

                                    VIII. JURY DEMAND

           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Midas respectfully

   requests a trial by jury of any issues so triable by right.

                                      PRAYER FOR RELIEF

           Wherefore, Midas requests judgment against Defendants as follows:

           A.     Adjudging that all Defendants have directly infringed, the’457 Patent, in

   violation of 35 U.S.C. § 271(a);

           B.     Adjudging that Defendant Rhodium Enterprises, Inc. and Defendant

   Rhodium Technologies LLC have actively induced infringement of the’457 Patent, in

   violation of 35 U.S.C. § 271(b);

          C.      Adjudging that all Defendants have directly infringed the’446 Patent, in


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 violation of 35 U.S.C. § 27l(a);

        D.       Adjudging that Defendant Rhodium Enterprises, Inc. and Defendant

 Rhodium Technologies LLC have actively induced infringement of the’446 Patent, in

 violation of 35 U.S.C. § 271(b);

        E.       Permanently enjoining Defendants, their employees, agents, officers, directors,

 attorneys, successors, affiliates, subsidiaries, and assigns, and all of those in active concert

 and participation with any of the foregoing persons or entities from infringing, contributing to

 the infringement of, or inducing infringement of, the ‘457 Patent and of the’446 Patent;
        F.       Ordering Defendants to account for and pay damages adequate to compensate

 Midas for Defendants' infringement of, and inducement to infringe, the ‘457 Patent and

 the’446 Patent, including pre-judgment and post-judgment interest and costs, pursuant to 35

 U.S.C. § 284;

        G.       Ordering an accounting by Defendants for any infringing activity not

 presented at trial and an award by the court of additional damages for any such infringing

 activity to Midas;

        H.       Ordering that the damages award by increased up to three times the actual

 amount assessed, pursuant to 35 U.S.C. § 284;

        I.       Declaring this case exceptional and ordering Defendants to pay the cost of

 this action, including all disbursements, and attorneys' fees as provided by 35 U.S.C. §

 285, together with prejudgment interest; and

        J.       Awarding such other and further relief as this Court deems just and proper.

DATED: March 29, 2023                             Respectfully submitted,


                                                      /s/ Joseph E. Thomas
                                                     Joseph E. Thomas (admitted p.h.v.)
                                                     William J. Kolegraff (admitted p.h.v.)
                                                     Grant J. Thomas (admitted p.h.v.)
                                                     THOMAS WHITELAW & KOLEGRAFF LLP
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                                    Counsel for Plaintiff
                                    Midas Green Technologies, LLC




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                                    CERTIFICATE OF SERVICE


            I hereby certify that counsel of record who have appeared electronically in this case
  are being served on March 29, 2023 via the email address that counsel provided to Court's
  ECF system.

                                               /s/ Tierra Mendiola
                                               Tierra Mendiola




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